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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               ATHENS DIVISION



IN RE:                                               CASE NO. 13-30073-JPS

LARRY D. DILLARD and
DARLENE DILLARD
    Debtors.

CAMILLE HOPE,                                        CHAPTER: 13
     Trustee

vs.                                                  JUDGE: HONORABLE JAMES P.
                                                     SMITH
RUSHMORE LOAN MANAGEMENT, LLC
     Creditor.




                  RESPONSE TO TRUSTEE’S MOTION FOR SANCTIONS

       COMES NOW Rushmore Loan Management, LLC (hereinafter “Respondent”) and files
this Motion in Response to Trustee’s Motion for Sanctions:

                                               1.

       Respondent acknowledges receipt of the Order Granting the Motion to Compel entered
by Judge James P. Smith on November 9th, 2017. Respondent is also acknowledges receipt of the
Motion for Sanctions filed by Trustee Camille Hope on January 26, 2018.

                                               2.

        Respondent has undertaken a reconciliation of its payments received on the claim, and
has issued a refund check in the amount of $3,273.00 to Trustee Camille Hope.

                                               3.

         The check has been sent via overnight FedEx to Trustee Camille Hope’s physical address
at 201 Second Street 10th Floor Macon, GA 31201 on February 16, 2018. At the time of this
filing, FedEx’s delivery estimate states that the package will arrive at Trustee Camille Hope’s
office no later than Monday, February 19 at 10:30 AM.
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        WHEREFORE, Respondent prays that the Court not hold Respondent in contempt or
sanction Respondent in this manner. Respondent also prays that the hearing be held if the Trustee
has not withdrawn the Motion for Sanctions by that date.

                                                           /s/Joshua M. Ryden
                                                           Attorney for Respondent
                                                           Aldridge Pite, LLP
                                                           3575 Piedmont Road, N.E.,
                                                           Suite 500
                                                           Atlanta, GA 30305
                                                           Phone: (404) 994-7400
                                                           Email: jryden@aldridgepite.com
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IN RE:                                               CASE NO. 13-30073-JPS

LARRY D. DILLARD and                                 CHAPTER: 13
DARLENE DILLARD
    Debtors.                                         JUDGE: HONORABLE JAMES P.
                                                     SMITH



                               CERTIFICATE OF SERVICE

    I, the undersigned, hereby certify under penalty of perjury that I am, and at all times
hereinafter mentioned, was more than 18 years of age, and that on the February 16, 2018, I
served a copy of Response to Trustee’s Motion for Sanctions which was filed in this
bankruptcy matter on the February 16, 2018, in the manner indicated:

The following parties have been served via e-mail:

Stephen Noel                                   Camille Hope

The following parties have been served via U.S. First Class Mail:

Larry D. Dillard
Darlene Dillard
1620 Etchison Spur
Loganville GA 30052

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Dated: February 16, 2018

                                                         /s/Joshua M. Ryden
                                                         Attorney for Respondent
                                                         Aldridge Pite, LLP
                                                         3575 Piedmont Road, N.E.,
                                                         Suite 500
                                                         Atlanta, GA 30305
                                                         Phone: (404) 994-7400
                                                         Email: jryden@aldridgepite.com
